     Case 1:11-cr-00352-LJO-SKO Document 87 Filed 10/15/15 Page 1 of 2


1    HEATHER E. WILLIAMS, Bar #122664
     Federal Defender
2    CHARLES J. LEE, Bar #221057
     Assistant Federal Defender
3    Designated Counsel for Service
     2300 Tulare Street, Suite 330
4    Fresno, California 93721-2226
     Telephone: (559) 487-5561
5
     Attorneys for Defendant
6    RYAN BAGDASARIAN
7

8                            IN THE UNITED STATES DISTRICT COURT
9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                         NO. 1:11-cr-00352 LJO-SKO
12                       Plaintiff,                    STIPULATION AND ORDER
                                                       TO CONTINUE STATUS CONFERENCE
13         v.                                          HEARING
14   MARK BAGDASARIAN,                                 DATE: January 25, 2016
     RYAN BAGDASARIAN,                                 TIME: 8:30 a.m.
15                                                     JUDGE: Hon. Lawrence J. O’Neill
                          Defendants.
16

17          IT IS HEREBY STIPULATED by and between the parties hereto through their
18   respective counsel, Kevin P. Rooney, Counsel for Plaintiff, Anthony P. Capozzi, Counsel for
19   Defendant Mark Bagdasarian, and Charles J. Lee, Counsel for Defendant Ryan Bagdasarian, that
20   the status conference in the above-captioned matter now set for October 26, 2015, may be
21   continued to January 25, 2016 at 8:30 a.m.
22          This continuance is at the request of all parties. Currently, U.S. v. Lovan (15-10122) is
23   scheduled for oral argument at the Ninth Circuit in early December. That litigation involves the
24   ability of the United States Department of Justice to expend funds to litigate cases implicating
25   state medical marijuana authorizations. The ruling on that case will have a substantive impact on
26   the instant case and the parties would like to see the outcome in order to properly engage in case
27   resolution.
28
     Case 1:11-cr-00352-LJO-SKO Document 87 Filed 10/15/15 Page 2 of 2


1             The requested continuance is with the intention of conserving time and resources for both
2    parties and the court. The parties agree that the delay resulting from the continuance shall be
3    excluded in the interests of justice, including but not limited to, the need for the period of time
4    set forth herein for effective defense preparation, defense investigation, and plea negotiation
5    purposes pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and 3161(h)(7)(B)(i) and (iv).
6
                                                            Respectfully submitted,
7
                                                            BENJAMIN B. WAGNER
8                                                           United States Attorney
9    DATED: October 14, 2015                          By: /s/ Kevin P. Rooney
                                                          KEVIN P. ROONEY
10                                                        Assistant United States Attorney
                                                          Attorney for Plaintiff
11

12   DATED: October 14, 2015                          By:   /s/ Anthony P. Capozzi
                                                            ANTHONY P. CAPOZZI
13                                                          Attorney for Defendant
                                                            Mark Bagdasarian
14

15                                                          HEATHER E. WILLIAMS
                                                            Federal Defender
16

17   DATED: October 14, 2015                          By: /s/ Charles J. Lee
                                                          CHARLES J. LEE
18                                                        Assistant Federal Defender
                                                          Attorneys for Defendant
19                                                        Ryan Bagdasarian
20

21
                                                     ORDER

22            Time is excluded pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and 3161(h)(7)(B)(i) and (iv).

23
     IT IS SO ORDERED.
24

25
         Dated:       October 15, 2015                         /s/ Lawrence J. O’Neill
                                                         UNITED STATES DISTRICT JUDGE
26

27

28


       Bagdasarian: Stipulation to Continue Status    -2-
       Conference
